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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE

                                                             Civil No.. 21-

MS. DOE, as parent and next               )
friend of JANE DOE, a minor,              )
                                          )
                Plaintiff,                )
                                          )
             v.                           )
VASSALBORO SCHOOL                         )
DEPARTMENT,                               )
                                          )
                Defendant.                )


                   COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff Ms. Doe, on behalf of her minor child, Jane Doe (“Ms. Doe” and

“Jane,” respectively) complains against Defendant Vassalboro School Department

as follows:

                              PARTIES AND JURISDICTION

       1.     This action seeks damages against Defendant for its deliberate

indifference to Jane’s reporting of sexual harassment she experienced in school.

Defendant’s indifference caused Jane damages and violated both federal and state

law.

       2.     Plaintiff Ms. Doe is the parent of Jane Doe, a female minor. They are

both residents of Vassalboro, Kennebec County, Maine.

       3.     Defendant Vassalboro School Department (“Vassalboro”) is the Maine

public school district serving children in Vassalboro. It operates one school, the
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Vassalboro Community School (“VCS”), which provides education for students

through eighth grade.

     4.     At times relevant to this Complaint, Jane was in the fifth grade at VCS.

     5.     This action arises under IX of the Education Amendments of 1972, 20

U.S.C. § 1681 et seq. (“Title IX”) and the Maine Human Rights Act (“MHRA”), tit. 5

Me. Rev. Stat. §§ 4592(1), 4602(1)(A).

     6.     This Court has subject matter jurisdiction of Plaintiff’s federal claims

pursuant to 28 U.S.C. § 1331.

     7.     This Court has supplemental jurisdiction of Plaintiff’s state law claims

pursuant to 28 U.S.C. § 1367(a).

     8.     Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) as “a

substantial part of the events or omissions giving rise to the claim occurred” in this

District.

     9.     Plaintiff has exhausted her administrative remedies. She timely filed

charge of Defendant’s violation of the MHRA with the Maine Human Rights

Commission. The Commission dismissed the charge on July 26, 2021.

                        FACTS COMMON TO ALL COUNTS

     10.    In September 2019, Jane entered the fifth grade at VCS.

     11.    In September 2019, Vassalboro had a Student Discrimination and

Harassment Complaint Procedure, as required by Title IX and Maine law. This

Procedure stated, in relevant part:

            Any student who believes he/she has been harassed or
            discriminated against may use the following procedure. He/she may
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           also report incidents of discrimination or harassment to the Maine
           Human Rights Commission . . . . [S]tudents shall have access to a
           complaint manager of the same sex during the school day and at
           other times as arranged by appointment. Students may also report
           an allegation of sexual harassment to any teacher or other adult
           employed in the school who shall inform a complaint manager of
           the allegation. . . . Within 24 hours of receiving the student’s
           complaint, the complaint manager may notify the complaining
           student’s parent(s)/guardian(s) and the principal, who may inform
           the Superintendent. The parent(s)/guardian(s) may be given notice
           of the right to attend an interview of the student in a non-
           intimidating environment in order to elicit full disclosure of the
           student’s allegations. This interview shall take place within five
           school days from the time the complaint was first made. If no
           parent/guardian attends the interview, another adult, mutually
           agreed upon by the student and the complaint manager, shall
           attend and may serve as the student’s advocate. . . . The complaint
           manager will keep the complainant and his/her
           parent(s)/guardian(s) informed about the progress of the
           investigation. . . . If the complaint manager finds a substantiated
           charge of harassment by another student, the offending student
           shall be subject to disciplinary action.

     12.   In September 2019, Jane said “hi” to a male student, “Student 1.” He

replied: “Stop being such a bitch.” Jane reported this name-calling to a teacher, who

promised to talk to Student 1 about his behavior.

     13.   A couple of days later, Jane saw Student 1 in the hall. He said, “What’s

up, Loser?” Jane said, “Please don’t call me that; I don’t like it.” He said,

“Whatever.”

     14.   The next day at recess, Student 1 came up to Jane and her friend on the

school playground. He said, “What’s up, bitch?” Jane asked him to please stop

calling her names, and that she did not like it. Jane and her friend asked to speak

with VCS school counselor, Meg Swanson, and reported Student 1’s harassing



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behavior. Ms. Swanson told the girls she would speak with Student 1 and sent them

to their next class.

     15.   The following week, Student 1 kept calling Jane names at recess and

when he saw her in the hall. He called her names that included “bitch,” “asshole,”

“dumdum,” “jerk,” “slut,” “whore,” and “snitch.” Jane continued to report his

inappropriate behavior to different teachers at VCS, including her classroom

teacher and those on duty on the playground. They promised they would talk to

Student 1, but Student 1’s hostile behavior toward Jane only worsened.

     16.   Days later, Student 1 again harassed Jane and her friends by calling

them names during recess. Jane reported this behavior to the teacher on duty, who

did nothing in response. When Jane entered the VCS building after recess, a

teacher asked if she was okay; she replied that she was not okay and requested to

go to Ms. Swanson’s office, where she reported all of Student 1’s inappropriate

behavior. Ms. Swanson scheduled a lunch meeting with Jane to have a full

discussion of her harassment report.

     17.   At the ensuing lunch meeting, Jane reported even more harassing

behavior by Student 1 and stated that she no longer felt comfortable around

Student 1. Ms. Swanson responded by attempting to justify Student 1’s behavior,

telling Jane that “boys’ brains just function differently than girls’ brains.” Ms.

Swanson also told Jane that Student 1 was having trouble at home.

     18.   Without asking Jane’s consent, Ms. Swanson brought Student 1 into the

office where they were meeting. Student 1’s arrival caused Jane great distress and


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showed a complete lack of respect for Jane’s perspective. Jane remained silent, as

she did not want to engage in conversation once Student 1 was in the room.

    19.   Eventually, Ms. Swanson had Student 1 tell Jane that he was “sorry.” He

asked if he could hug Jane. Jane was visibly uncomfortable, as she did not want to

be hugged by Student 1. Ms. Swanson encouraged the hug, telling Jane “that’s the

way we do things around here.” Not knowing what to do, Jane shrugged her

shoulders. Student 1 leaned in and awkwardly hugged her, making her even more

uncomfortable.

    20.   On her way back to class, Jane rushed into the bathroom to calm herself

down. Ms. Swanson’s deliberate indifference towards her feelings and perspective

had caused her significant emotional distress.

    21.   After the hugging incident in Ms. Swanson’s office, Student 1 began

inappropriately touching Jane. The week after the hug, Student 1 slapped Jane on

her behind when they were lining up for recess. She told him not to touch her there

again.

    22.   The next day at recess, Student 1 was obnoxious and mean to Jane and

her friends. He called them names like “slut” and “asshole.” Later that day, he

appeared from out of nowhere and began hugging Jane from behind, touching and

grabbing her chest. This incident also caused Jane severe emotional distress. She

told Student 1 not to do that again, as it made her feel very uncomfortable.

Student 1 replied: “Whatever—see you at lunch.” Frightened about her next




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encounter with Student 1, Jane reported his physical assault to the teacher on duty,

who replied that she would talk to Student 1.

    23.     The very next day, when Jane and another female student were at a

water fountain, Student 1 came over and slapped both of their behinds. They

immediately went to the art teacher, Ms. Briggs, to report the behavior.

    24.     The day after that, Jane and other female students were playing on the

basketball court when Student 1 appeared and started calling them “sluts,”

“whores,” and “assholes,” before angrily throwing a basketball at them when they

told him to stop. Further frightened by Student 1’s behavior, Jane and her friends

quickly approached the closest teacher on duty to report what happened.

    25.     A few days later, Student 1 called Jane and her friend “whores” when

they refused to play tag with him. When Jane told him not to use that word, he

pushed her so hard to the ground that her knee began bleeding. He yelled, “Shut up

or I’m going to kill you!” Then he slapped the behind of Jane’s friend and ran away

laughing.

    26.     After Jane picked herself up off the ground and saw her bloody knee, she

asked to see the nurse. When she and her friend were in the nurse’s office, Jane

asked to speak to the principal. The nurse said the principal was busy and that the

girls could tell her whatever they wanted to say.

    27.     Jane then recounted in detail all of Student 1’s hostile behavior that she

and her friends had endured thus far, including his threat to kill her. She told the

nurse that she and her friends did not feel safe at school with Student 1 around.


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The nurse took multiple pages of notes on a yellow pad. When Jane and her friend

asked to go home early, the nurse denied their request, saying there were only a

couple of hours remaining in the school day, explaining “if we let everyone go home

when they ask, we would have no one left in school.” This comment upset Jane and

illustrated VCS’s deliberate indifference to the harassment Jane had been facing.

     28.   The next day, Student 1 again slapped Jane on the behind while they

were lining up to come in from recess. Once again, Jane reported his behavior to a

teacher.

     29.   The day after that, Student 1 called Jane a “slut” and a “snitch” during a

basketball game in gym class. Jane tried to ignore Student 1. During free time at

the end of class, Student 1 called Jane a “bitch” and she became very angry, asking

to see the VCS principal, Megan Allen. Jane noticed the gym teacher, Mr. West,

following her to the principal’s office. He stood in the doorway and scolded Jane for

going to the principal to make a report. In the past, Jane had made reports to

Mr. West, but he had ignored her.

     30.   Jane spoke with the principal and described Student 1’s long pattern of

harassing behavior, explaining that she had repeatedly reported his behavior to

VCS staff, to no avail. It became apparent to Jane that the nurse had not shared

what she and her friend had reported days before. The principal said she would talk

to Student 1.




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     31.     The next day, the principal told Jane that Student 1 was sorry and did

not mean to hurt her feelings. Jane tried to explain to the principal that this was a

consistent pattern of behavior for Student 1 and that his apology meant nothing.

     32.     Later that day, true to form, Jane and Student 1 were involved in an

“emoji challenge” in math class, for which everyone received a yellow emoji doll.

Student 1 ripped the head off his doll and threatened her by saying, “Look, [Jane],

it’s you!”

     33.     The next day, Jane reported the emoji doll incident to the principal. Soon

afterward, Student 1 approached Jane. He stated that if Jane ever told a teacher on

him again, he would kill her. Jane was terrified, but reported his behavior to a

teacher anyway. The principal ultimately called Jane and one of her friends to the

main office, where they reported Student 1’s most recent threat. A few days later,

the principal called Jane and her friends to her office to give them apology cards

from Student 1, who had spent some time out of classes and in the main office. The

girls all told Principal Allen that they did not accept Student 1’s apology.

     34.     By now it was early November 2019. When Jane learned that her mother

would be attending a meeting with the principal about an unrelated topic, she

decided to recount everything that had been happening with Student 1 to her

mother. Ms. Doe promptly emailed the school in horror over what she had learned

about her daughter’s experiences at school.

     35.     Facing a complaint from Ms. Doe, Defendant finally took action by

removing Student 1 from school and commencing an investigation.


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    36.   Defendant learned the following as a result of its investigation:

          a.   Four (out of six female fifth graders interviewed) stated Student 1

               had touched them inappropriately;

          b.   Those four female students stated that Student 1 had touched their

               breasts;

          c.   Three female students interviewed stated Student 1 had touched

               their behinds;

          d.   One female student interviewed stated Student 1 had touched her

               “upper leg”;

          e.   One female student interviewed stated she had seen Student 1 touch

               another female student’s behind in the hallway;

          f.   All six female students interviewed stated they were aware that

               Student 1 had inappropriately touched others.

    37.   In a submission to the Maine Human Rights Commission, Defendant

represented that “when the School learned of the serious allegations against

Student 1, School officials removed him from school immediately.” This statement is

false: Jane repeatedly made reports of Student 1’s sexually harassing behavior

during September and October 2019, to no avail. It was not until Ms. Doe sent an

email to VCS on November 7, 2019 that Defendant finally removed Student 1 from

school and began an investigation.




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     38.   By ignoring Jane’s multiple reports and failing to investigate and take

effective remedial action sooner, Defendant acted with deliberate indifference

toward Jane’s reporting of Student 1’s harassment.

     39.   Defendant’s deliberate indifference is evidenced by Defendant’s

minimizing her complaints by VCS staff, justifying Student 1’s harassing behaviors

(e.g., “boys’ brains just function differently than girls’ brains”), encouraging Jane to

hug Student 1 to make her feel better, and forbidding Jane from going home after

being physically assaulted by Student 1. Defendant never gave Jane’s reports the

weight and attention they are obligated to provide under federal and state law, and

under its own sexual harassment policy.

     40.   Defendant eventually came up with a plan for Student 1 to stay away

from Jane in school, promising Jane that he would have 1:1 supervision at all time

while at school. However, after a teacher allowed Student 1 to overlap with Jane at

recess, and after Student 1 later approached Jane in the science room without adult

supervision, Jane lost trust in the school’s ability to keep her safe. She ultimately

switched schools and no longer attends VCS.

     41.   Defendant’s deliberate indifference to the harassment Jane experienced

caused her severe emotional distress and damage.

                                     COUNT I
             (Violation of Title IX: Hostile Educational Environment)

     42.   Plaintiff repeats the allegations contained in paragraphs 1 through 41.

     43.   Defendant created and/or subjected Jane to a hostile educational

environment in violation of Title IX, in that (i) Jane was a member of a protected
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class; (ii) Defendant had actual knowledge of Student 1’s sexually harassing

behavior against Jane; (iii) the sexually harassing behavior occurred in the context

of Defendant’s educational programs and activities; (iv) the sex-based harassment of

Jane was so severe, pervasive, and objectively offensive as to deprive her of access

to educational opportunities and benefits provided by Defendant; and (v) Defendant

was deliberately indifferent to the harassment, such that its lack of response was

clearly unreasonable in light of the known circumstances.

     44.   Jane has suffered damages, including interference with her educational

opportunities and severe emotional distress, as a direct and proximate result of

Defendant’s violation of her Title IX rights.

                                    COUNT II
                   (Violation of the Maine Human Rights Act:
                       Hostile Educational Environment)

     45.   Plaintiff repeats the allegations contained in paragraphs 1 through 44.

     46.   Defendant violated the Maine Human Rights Act because it knew or

should have known about Student 1’s objectively hostile, harassing, and abusive

conduct toward Jane during September and October 2019, yet failed to implement

prompt and appropriate action.

     47.   A reasonable student of the same age, maturity level, and protected

characteristic as Jane would consider Student 1’s behaviors to be sufficiently severe

and pervasive enough to create an intimidating, hostile, or offensive school

environment.




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     48.    As detailed above, Jane personally reported Student 1’s hostile behavior

to numerous teachers and administrators at VCS on many different occasions prior

to her mother’s email of November 7, 2019, yet Defendant responded only with

deliberate indifference to her reporting activity.

     49.    In making her numerous reports, Jane demanded to receive an education

free of both physical and verbal harassment from Student 1. Jane clearly told

Defendant that Student 1 assaulted her, as detailed above.

     50.    In violation of Maine law and its own Student Discrimination and

Harassment Complaint Procedure, Defendant responded to Jane’s reports by

encouraging her to hug her harasser and by failing to undertake a proper

investigation or to initiate effective remedial action.

     51.    Vassalboro’s indifference to Jane’s reporting activity caused her to suffer

severe damages, including loss of educational opportunities and severe emotional

distress.



      WHEREFORE, Plaintiff respectfully requests that the Court enter judgment

in her favor against Defendant Vassalboro School Department, and award her, for

the benefit of Jane Doe, the following relief:

              a. Compensatory and civil penal damages in an amount that is

                 reasonable in the premises;

              b. Reimbursement of her reasonable attorney’s fees and costs; and


              c. Such other relief as the court may deem just and proper.

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                                   JURY DEMAND

      Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff

demands a trial by jury of all issues so triable.


Dated: October 7, 2021.
                                                /s/ Richard L. O’Meara
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